      Case 2:19-bk-57390                       Doc 45        Filed 11/10/20 Entered 11/10/20 16:51:04                                    Desc Main
 Fill in this information to identify the case:              Document     Page 1 of 8

 Debtor 1              Shannon Nicole White
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Southern
 United States Bankruptcy Court for the: ______________________              Ohio
                                                                District of __________
                                                                                   (State)
 Case number             2:19-bk-57390
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                  12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               Wilmington Savings Fund Society, FSB, as Owner
                               Trustee of the Residential Credit Opportunities Trust V-C
 Name of creditor: _______________________________________                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                        Date of payment change:
 identify the debtor’s account:                             4376____ ____ ____
                                                            ____                               Must be at least 21 days after date       12        2020
                                                                                                                                         ____/____/_____
                                                                                                                                              01
                                                                                               of this notice


                                                                                               New total payment:                          454.65
                                                                                                                                         $ ____________
                                                                                               Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             249.54
                   Current escrow payment: $ _______________                                 New escrow payment:           226.71
                                                                                                                         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:           _______________%                         New interest rate:          _______________%

                   Current principal and interest payment: $ _______________                 New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                               New mortgage payment: $ _______________


Official Form 410S1                                              Notice of Mortgage Payment Change                                                page 1
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Debtor 1         Shannon Nicole White
                 _______________________________________________________                                                2:19-bk-57390
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle Ghidotti
     Signature
                                                                                                Date    11/10/2020
                                                                                                        ____/_____/________




 Print:             Michelle Ghidotti
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger LLP.
                    _________________________________________________________



 Address            1920 Old Tustin Ave.
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            bknotifications@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                                                                                                                    Escrow
                                                                                                           Disclosure Letter
                                                                                       Account Number
                                                                        Present Loan
                                                                        Information:   Paid To Date                            09/01/2020
  Borrower:              SHANNON N WILLIAMS                                            Principal Balance                       $26,136.81
                         2127 GENESSEE AVE                                             Note Rate                                     7.000%
                         COLUMBUS, OH 43211                                                                                          $227.94
                                                                                       Regular Payment
                                                                                       Escrow Payment                                $249.54
                                                                                       Suspense Payment                                $0.00
                                                                                       Other Payments                                  $0.00
                                                                                       Suspense Balance                                $0.00
  Property Address:      2127 GENESSEE AVE
                                                                                       Escrow Balance                           $1,010.16
                         COLUMBUS, OH 43211
                                                                                       Unpaid Interest                                 $0.00
                                                                                       Unpaid Charges                                  $0.00

Dear SHANNON N WILLIAMS:

Enclosed is your Escrow Disclosure Statement and notice of new mortgage payment for your loan. At least once a year, FCI reviews your
escrow account to determine if the current monthly payment amounts are sufficient to cover your projected taxes and/or insurance
premiums. Increases or decreases in your annual tax and/or insurance amounts may cause your monthly payment to change. The first
section of the Statement projects activity for the upcoming 12 months as well as any changes to your monthly payment. Prior Year Escrow
Payment Activity on the Statement reflects activity on your escrow account from December 2019 through November 2020. Payments are
shown in the month received, which may not necessarily be the month due. The Statement assumes timely receipt of payments and
scheduled disbursements through November 30, 2021.

Target Balance: A Target Balance means the estimated month-end balance in an escrow account that is just sufficient to cover the
remaining disbursements from the escrow account for the remainder of the 12-month period that are required to cover annual taxes,
insurance, or other escrow items.

Surplus: A Surplus is the amount by which a current escrow balance exceeds the target balance for the 12-month period for the escrow
account. Required refunds, due to a Surplus, will be mailed within 30 days or per applicable State law. Tax bills other than the annual
secured bill are your responsibility to pay. Before spending your refund, you should check with your local Tax Collector and/or the
Assessor’s Office to determine if a Supplemental Tax Bill is pending or expected to be issued.

Shortage: A Shortage is the amount by which a current escrow account balance falls short of the target balance at the time of the escrow
analysis. Some reasons for the shortage include deficiency of total payments received or increases in tax and/or insurance amount during
the projection year. If you choose to pay the escrow shortage in full rather than have it collected over 12 months, your new monthly
payment can be calculated by subtracting the shortage from the new payment information section on the second page of this analysis.
Your check for the lump sum payment and request should be submitted directly to FCI Lender Services, Inc. Attn: Escrow Department at
the address listed below.

Deficiency: A Deficiency is the amount by which a current escrow balance becomes negative. This occurs when the Servicer advances
funds to pay an escrow item.

Please take the time to review this Statement prior to the changes taking place. Changes to your monthly payment, as indicated in your
Statement, will be reflected on your December 2020 billing statement. If you are using an automatic payment provider, please notify them
of the change in your payment amount to avoid possible late fees.

If you have any questions regarding this Statement, please call our toll free number at 800-931-2424, Ext. 650, Monday through Friday
between the hours of 8:00 a.m. and 5:00 p.m. Pacific Time or visit our website www.trustfci.com at any time. When calling, please
reference your loan number so that we may better serve you.

Regards,
Customer Service Department
FCI Lender Services, Inc.

  Account:                                Statement Date: 10-19-2020
             FCI Lender Services, Inc. * PO BOX 28720 * Anaheim * CA 92809-0112 * NMLS#4920 * CA DRE # 01022780 * www.trustfci.com
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                                                                                                                                Escrow
                                                                                                                  Disclosure Statement

                            SUMMARY                                                                  NEW PAYMENT INFORMATION AS OF 12/1/2020
Total Projected Payments from Escrow                                $2,720.52
Divide by # of Months in Statement Period                                                  Principal & Interest                                  $227.94
                                                                             12
Equals Monthly Projected Payments to Escrow                             $226.71            Escrow Payment                                        $226.71

                                                                                           Shortage Payment                                        $0.00
Target Balance = Projected Payments to Escrow                       $3,173.94
+ 2 extra month cushion                                                                    Surplus                                                 $0.00

                                                                                           Deficiency Payment                                      $0.00
Starting Projected Balance (+)                                      $1,509.24
                                                                                           Suspense Payment                                        $0.00
Starting Required Balance (-)                                       $1,055.97
                                                                                           Other Payments                                          $0.00
Delinquency Vouchers (-)                                                  $0.00            New Payment Amount                                    $454.65

Your account is showing a surplus                                       $453.27            New Payment Date                                   12/01/2020
(see Letter for more information regarding surplus)


P&I:         $227.94 New Escrow:           $226.71 New Payment:         $454.65

IMPORTANT NOTE: It is our goal to provide you with accurate escrow information. If your loan account is delinquent, this analysis may
not include current escrow information and may not accurately reflect your projected escrow activity. Please inform this office
immediately of your current tax and insurance information by calling 800-931-2424 in order to re-establish your escrow account.
Insurance information may not be calculated into this analysis if the information was not provided to the Servicer. Please note, once
annual insurance premium information has been provided, the payment must be re-projected.

Below are the escrow items we anticipate we will collect for or pay on your behalf in the upcoming 12-month period. The dollar amount
shown may be the last amount actually paid for that item or may project the next amount due as defined by Federal Law. Based on
these anticipated disbursements, the amount of your escrow deposit is calculated and displayed below.

                                           ESCROW ACCOUNT PROJECTIONS FOR COMING YEAR
                                Payments to Escrow         Payments
Month - Year                                                             Description                                        Escrow Account Balance
                            Escrow         Shortage      from Escrow                                                          Projected        Required

                                                                        Required Deposit                                     $1,509.24       $1,055.97
December-2020                    $226.71         $0.00        $829.26 Franklin County Treasurer (OH)                           $906.69         $453.42    *
January-2021                     $226.71         $0.00          $0.00                                                        $1,133.40         $680.13
February-2021                    $226.71         $0.00          $0.00                                                        $1,360.11         $906.84
March-2021                       $226.71         $0.00          $0.00                                                        $1,586.82       $1,133.55
April-2021                       $226.71         $0.00          $0.00                                                        $1,813.53       $1,360.26
May-2021                         $226.71         $0.00        $829.26 Franklin County Treasurer (OH)                         $1,210.98         $757.71
June-2021                        $226.71         $0.00          $0.00                                                        $1,437.69         $984.42
July-2021                        $226.71         $0.00          $0.00                                                        $1,664.40       $1,211.13
August-2021                      $226.71         $0.00          $0.00                                                        $1,891.11       $1,437.84
September-2021                   $226.71         $0.00          $0.00                                                        $2,117.82       $1,664.55
October-2021                     $226.71         $0.00      $1,062.00 State Farm Insurance Company                           $1,282.53         $829.26
November-2021                    $226.71         $0.00          $0.00                                                        $1,509.24       $1,055.97

       Total:               $2,720.52           $0.00      $2,720.52




   Account:                                          Statement Date: 10-19-2020
                FCI Lender Services, Inc. * PO BOX 28720 * Anaheim * CA 92809-0112 * NMLS#4920 * CA DRE # 01022780 * www.trustfci.com
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 * This is your Low Point. The Low Point is zero Document
                                                 plus the allowed Page
                                                                  reserve 5asofguided
                                                                                8 by the Real Estate Settlement Procedures Act
(RESPA). Reserve amount by Federal Law (RESPA) is two times your monthly Escrow Payment, unless State Law specifies a lower
amount.

Your anticipated low point may or may not have been reached based on one or more of the following common factors:

PAYMENT(S)                                      TAXES                                        INSURANCE

· Monthly payment(s) were received less         · Tax rate and/or assessed value changed     · Premium changed
 than OR greater than expected                  · Exemption status lost or changed           · Coverage changed
· Monthly payment(s) were received earlier      · Supplemental/Delinquent tax paid           · Additional premium paid
 OR later than expected                         · Tax bill paid earlier OR later than        · Insurance bill paid earlier OR later than
· Previous overage was returned to escrow       expected                                     expected
· Previous deficiency/shortage not paid         · Tax installment not paid                   · Premium was not paid
 entirely                                       · Tax refund received                        · Premium refund received
                                                · New tax escrow requirement paid            · New insurance escrow requirement paid


In the event that a Deficiency was identified in the Summary section of your Statement, the above list of common factors, may or may not
have contributed to this deficiency.




 Account:                                Statement Date: 10-19-2020
            FCI Lender Services, Inc. * PO BOX 28720 * Anaheim * CA 92809-0112 * NMLS#4920 * CA DRE # 01022780 * www.trustfci.com
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                                                      Document
 The following statement of activity in your escrow account           Page
                                                            from December 20196toof 8
                                                                                  November 2020 displays actual activity as it
 occurred in your escrow account during that period.

                             PRIOR YEAR ESCROW PAYMENT ACTIVITY December 2019 - November 2020
Month - Year            Payments to Escrow     Payments from Escrow Description                                          Escrow Account Balance

December-2019                          $0.00               $829.26 Franklin County Treasurer (OH)                                       ($841.68)
January-2020                           $0.00                  $0.00                                                                     ($841.68)
February-2020                          $0.00                  $0.00                                                                     ($841.68)
March-2020                             $0.00                  $0.00                                                                     ($841.68)
April-2020                             $0.00                  $0.00                                                                     ($841.68)
May-2020                               $0.00                  $0.00                                                                     ($841.68)
June-2020                              $0.00               $829.26 Franklin County Treasurer (OH)                                   ($1,670.94)
July-2020                              $0.00                  $0.00                                                                 ($1,670.94)
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                              ($1,421.40)
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                              ($1,171.86)
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                                  ($922.32)
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                                  ($672.78)
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                                  ($423.24)
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                                  ($173.70)
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                                    $75.84
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                                  $325.38
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                                  $574.92
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                                  $824.46
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                               $1,074.00
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                               $1,323.54
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                               $1,573.08
August-2020                          $249.54                  $0.00 SHANNON N WILLIAMS                                               $1,822.62
September-2020                         $0.00              $1,062.00 State Farm Insurance Company                                        $760.62
September-2020                       $249.54                  $0.00 SHANNON N WILLIAMS                                               $1,010.16
October-2020                           $0.00                  $0.00                                                                  $1,010.16
November-2020                          $0.00                  $0.00                                                                  $1,010.16

Total:                            $3,743.10              $2,720.52




                        Note: FCI Lender Services, Inc. is a debt collector and is attempting to collect a debt.
                                      Any information obtained will be used for that purpose.
IF YOU OR YOUR ACCOUNT ARE SUBJECT TO PENDING BANKRUPTCY PROCEEDINGS, OR IF YOU HAVE RECEIVED A BANKRUPTCY
DISCHARGE, THIS LETTER IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT AN ATTEMPT TO COLLECT A DEBT. Please see
IMPORTANT DISCLOSURES enclosed.


   Account:                                     Statement Date: 10-19-2020
                FCI Lender Services, Inc. * PO BOX 28720 * Anaheim * CA 92809-0112 * NMLS#4920 * CA DRE # 01022780 * www.trustfci.com
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                                                  IMPORTANT DISCLOSURES

FCI Lender Services, Inc. (“FCI”) is committed to professional and courteous service to our
customers. Our Customer Service Department is an experienced group of men and women who are
trained and dedicated to answering your questions, addressing your concerns, and resolving any and
all issues to your satisfaction. If you have any complaints, please call us during our regular business
hours at (800) 931-2424 ext. 651, Mon - Fri, 8:00 a.m. - 5:00 p.m., PT.

OREGON CONSUMERS ONLY: The Director of the Department of Consumer and Business Services
prescribes by rule. Residential mortgage loan servicers are regulated by the Oregon Division of
Financial Regulation. To file a complaint, call (888) 877-4894 or visit http://dfr.oregon.gov. You can
also submit a completed form complaint by email to dcbs.dfcsmail@oregon.gov, by mail to PO Box
14480 Salem, OR 97309-0405, or by fax to 503-947-7862.

PENNSYLVANIA CONSUMERS ONLY: The lender retains a security interest in your residential real
estate whenever the security interest has not been released.

COLORADO CONSUMERS ONLY: FCI Lender Services, Inc.’s Agent in Colorado is Cogency Global
Inc., 7700 E. Arapahoe Road, Suite 220, Centennial, Colorado 80112; PH: 303-309-3839.

TEXAS CONSUMERS ONLY: COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE
SHOULD BE SENT TO THE DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601 NORTH
LAMAR, SUITE 201, AUSTIN, TX 78705. A TOLL-FREE CONSUMER HOTLINE IS AVAILABLE AT
877-276-5550. A complaint form and instructions may be downloaded and printed from the
Department’s website located at www.sml.texas.gov or obtained from the department upon request
by mail at the address above, by telephone at its toll-free consumer hotline listed above, or by email
at smlinfo@sml.texas.gov.

MASSACHUSETTS CONSUMERS ONLY: NOTICE OF IMPORTANT RIGHTS YOU HAVE THE RIGHT
TO MAKE A WRITTEN OR ORAL REQUEST THAT TELEPHONE CALLS REGARDING YOUR DEBT NOT BE
MADE TO YOU AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL REQUEST WILL BE VALID FOR
ONLY TEN DAYS UNLESS YOU PROVIDE WRITTEN CONFIRMATION OF THE REQUEST POSTMARKED
OR DELIVERED WITHIN SEVEN DAYS OF SUCH REQUEST. YOU MAY TERMINATE THIS REQUEST BY
WRITING TO THE CREDITOR.

NEW YORK CONSUMERS ONLY: FCI Lender Services, Inc. (“FCI”) is registered with the
Superintendent of the New York State Department of Financial Services (NMLS #4920). You may
obtain information about how to file a complaint about FCI with the New York State Department of
Financial Services, by visiting the Department’s website at www.dfs.ny.gov or by calling the
Department at 800-342-3736.


IMPORTANT NOTICE: IF YOU OR YOUR ACCOUNT ARE SUBJECT TO PENDING
BANKRUPTCY PROCEEDINGS, OR IF YOU RECEIVED A BANKRUPTCY DISCHARGE ON THIS
DEBT, THIS STATEMENT IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT AN
ATTEMPT TO COLLECT A DEBT. IF YOU ARE NOT IN BANKRUPTCY OR DISCHARGED OF
THIS DEBT, BE ADVISED THAT FCI IS A DEBT COLLECTOR AND IS ATTEMPTING TO
COLLECT A DEBT. ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.




  Account:                                Statement Date: 10-19-2020
             FCI Lender Services, Inc. * PO BOX 28720 * Anaheim * CA 92809-0112 * NMLS#4920 * CA DRE # 01022780 * www.trustfci.com
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                                    CERTIFICATE OF SERVICE
      On November 10, 2020, I served the foregoing documents described as Notice of mortgage
payment change on the following individuals by electronic means through the Court’s ECF program:

Debtor Counsel
Laura M Nesbitt
laura@nesbittfirm.com

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                          /s/ Maben May
                                                          Maben May

        On November 10, 2020, I served the foregoing documents described as Notice of mortgage
payment change on the following individuals by depositing true copies thereof in the United States mail
at Santa Ana, California enclosed in a sealed envelope, with postage paid, addressed as follows:
Debtor
Shannon Nicole White
2127 Genessee Ave
Columbus, OH 43211

Trustee
Edward A. Bailey
Chapter 13 Trustee
130 E. Wilson Bridge Road
Suite 200
Worthington, OH 43085

U.S. Trustee
Asst US Trustee (Col)
Office of the US Trustee
170 North High Street
Suite 200
Columbus, OH 43215

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                         /s/ Maben May
                                                         Maben May
